                Case 23-18179-RG                          Doc 9           Filed 10/26/23 Entered 10/26/23 12:03:02                                               Desc Main
                                                                          Document      Page 1 of 33
 Fill in this information to identify your case:

 Debtor 1                   Alvaro Sales
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF NEW JERSEY

 Case number           23-18179
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             270,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             139,905.10

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             409,905.10

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             276,922.78

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $              13,804.41

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              87,640.48


                                                                                                                                     Your total liabilities $               378,367.67


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                3,791.03

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                3,765.01

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
             Case 23-18179-RG                         Doc 9          Filed 10/26/23 Entered 10/26/23 12:03:02                         Desc Main
                                                                     Document      Page 2 of 33
 Debtor 1      Alvaro Sales                                                               Case number (if known) 23-18179

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                            $          9,266.10


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $            6,266.41

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            7,538.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $               0.00

       9d. Student loans. (Copy line 6f.)                                                                 $               0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $               0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$               0.00


       9g. Total. Add lines 9a through 9f.                                                           $             13,804.41




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
               Case 23-18179-RG                        Doc 9       Filed 10/26/23 Entered 10/26/23 12:03:02                                         Desc Main
                                                                   Document      Page 3 of 33
Fill in this information to identify your case:

Debtor 1                     Alvaro Sales
                             First Name                    Middle Name                       Last Name

Debtor 2
(Spouse if, filing)          First Name                    Middle Name                       Last Name


United States Bankruptcy Court for the:                DISTRICT OF NEW JERSEY

Case number           23-18179
(if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                     amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.

          Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
      Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                                        amount                amount
2.1          Internal Revenue Service                            Last 4 digits of account number                            $2,421.00          $2,421.00                   $0.00
             Priority Creditor's Name
             P.O. Box 7436                                       When was the debt incurred?
             Philadelphia, PA 19101-7436
             Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
             Debtor 1 only                                           Unliquidated
             Debtor 2 only
                                                                     Disputed
             Debtor 1 and Debtor 2 only                          Type of PRIORITY unsecured claim:
             At least one of the debtors and another                 Domestic support obligations

             Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
             No
                                                                     Other. Specify
             Yes                                                                       2021 Federal Income Tax
                                                                                       Estimated Amount




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 28
                                                                                                              45312
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Debtor 1 Alvaro Sales                                                                              Case number (if known)          23-18179

2.2      Internal Revenue Service                            Last 4 digits of account number                         $4,900.00                $0.00   $4,900.00
         Priority Creditor's Name
         955 S. Springfield Avenue, Bldg.                    When was the debt incurred?
         A
         Springfield, NJ 07081
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
      Who incurred the debt? Check one.                         Contingent
          Debtor 1 only                                         Unliquidated
          Debtor 2 only                                         Disputed
          Debtor 1 and Debtor 2 only                         Type of PRIORITY unsecured claim:
          At least one of the debtors and another               Domestic support obligations

          Check if this claim is for a community debt           Taxes and certain other debts you owe the government
      Is the claim subject to offset?                           Claims for death or personal injury while you were intoxicated
          No
                                                                Other. Specify
          Yes                                                                    2022 Fed. Tax Return
                                                                                 Estimated Amount

2.3      New Jersey Division of Taxation                     Last 4 digits of account number                           $217.00           $217.00          $0.00
         Priority Creditor's Name
         Compliance & Enforcement -                          When was the debt incurred?
         Bankruptcy
         3 John Finch Way - 5th Floor
         P.O. Box 245
         Trenton, NJ 08695-0267
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
      Who incurred the debt? Check one.                         Contingent
          Debtor 1 only                                         Unliquidated
          Debtor 2 only                                         Disputed
          Debtor 1 and Debtor 2 only                         Type of PRIORITY unsecured claim:

          At least one of the debtors and another               Domestic support obligations

          Check if this claim is for a community debt           Taxes and certain other debts you owe the government
      Is the claim subject to offset?                           Claims for death or personal injury while you were intoxicated
          No                                                    Other. Specify
          Yes                                                                    2022 State Income Taxes
                                                                                 Estimated

2.4      NJ Attorney General Office                          Last 4 digits of account number                               $0.00              $0.00       $0.00
         Priority Creditor's Name
         Divsion of Law                                      When was the debt incurred?
         25 Market Street, P.O.B. 112
         Trenton, NJ 08625-0112
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
      Who incurred the debt? Check one.                         Contingent
          Debtor 1 only                                         Unliquidated
          Debtor 2 only                                         Disputed
          Debtor 1 and Debtor 2 only                         Type of PRIORITY unsecured claim:

          At least one of the debtors and another               Domestic support obligations

          Check if this claim is for a community debt           Taxes and certain other debts you owe the government
      Is the claim subject to offset?                           Claims for death or personal injury while you were intoxicated
          No                                                    Other. Specify
          Yes                                                                    For notice purposes.




Official Form 106 E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 28
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Debtor 1 Alvaro Sales                                                                              Case number (if known)          23-18179

2.5      Stephanie Sales                                     Last 4 digits of account number                         $2,735.41                $0.00   $2,735.41
         Priority Creditor's Name
         83 Newton Avenue                                    When was the debt incurred?
         Sussex, NJ 07461
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
      Who incurred the debt? Check one.                         Contingent
          Debtor 1 only                                         Unliquidated
          Debtor 2 only                                         Disputed
          Debtor 1 and Debtor 2 only                         Type of PRIORITY unsecured claim:

          At least one of the debtors and another               Domestic support obligations

          Check if this claim is for a community debt           Taxes and certain other debts you owe the government
      Is the claim subject to offset?                           Claims for death or personal injury while you were intoxicated
          No                                                    Other. Specify
          Yes                                                                    Estimated additional child support obligations as
                                                                                 of 8/29/23 pursuant to Paragraph 18 -
                                                                                 Extraordinary Expenses of the Children of the
                                                                                 Judgment for Custody, Alimony, Child Support
                                                                                 and Other Relief dated August 3, 2023.

2.6      Sussex County Probation                             Last 4 digits of account number                         $3,531.00         $2,578.33        $952.67
         Priority Creditor's Name
         Attn: Child Support                                 When was the debt incurred?
         43-47 High Street
         Newton, NJ 07860
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
      Who incurred the debt? Check one.                         Contingent
          Debtor 1 only                                         Unliquidated
          Debtor 2 only                                         Disputed
          Debtor 1 and Debtor 2 only                         Type of PRIORITY unsecured claim:

          At least one of the debtors and another               Domestic support obligations

          Check if this claim is for a community debt           Taxes and certain other debts you owe the government
      Is the claim subject to offset?                           Claims for death or personal injury while you were intoxicated
          No                                                    Other. Specify
          Yes                                                                    Debtor owes child support as of July 1, 2023
                                                                                 which is offset by alimony.
                                                                                 Approximate amount owed on child support wage
                                                                                 garnishment $2,578.33 before any offsets.

2.7      US Attorney for the District of NJ                  Last 4 digits of account number                               $0.00              $0.00       $0.00
         Priority Creditor's Name
         Att: Civil Process                                  When was the debt incurred?
         970 Broad Street - 7th Floor
         Newark, NJ 07102
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
      Who incurred the debt? Check one.                         Contingent
          Debtor 1 only                                         Unliquidated
          Debtor 2 only                                         Disputed
          Debtor 1 and Debtor 2 only                         Type of PRIORITY unsecured claim:

          At least one of the debtors and another               Domestic support obligations

          Check if this claim is for a community debt           Taxes and certain other debts you owe the government
      Is the claim subject to offset?                           Claims for death or personal injury while you were intoxicated
          No                                                    Other. Specify
          Yes                                                                    For notice purposes.




Official Form 106 E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 28
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Debtor 1 Alvaro Sales                                                                                     Case number (if known)            23-18179

2.8        US Attorney General's Office                           Last 4 digits of account number                                 $0.00                  $0.00                  $0.00
           Priority Creditor's Name
           950 Pennsylvanie Avenue NW                             When was the debt incurred?
           Washington, DC 20530
           Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
           Debtor 1 only                                             Unliquidated
           Debtor 2 only                                             Disputed
           Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

           At least one of the debtors and another                   Domestic support obligations

           Check if this claim is for a community debt               Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
           No                                                        Other. Specify
           Yes                                                                          For notice purposes.


Part 2:       List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

         No. You have nothing to report in this part. Submit this form to the court with your other schedules.

         Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim

4.1        Achieve Personal Loan                                     Last 4 digits of account number         7149                                                      $26,285.99
           Nonpriority Creditor's Name
           POB 204791                                                When was the debt incurred?
           Dallas, TX 75320-4791
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                Debtor 1 only                                           Contingent
                Debtor 2 only                                           Unliquidated
                Debtor 1 and Debtor 2 only                              Disputed
                At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

                No                                                      Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Personal Loan
                Yes                                                     Other. Specify    Freedom Plus Loan




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 4 of 28
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Debtor 1 Alvaro Sales                                                                            Case number (if known)         23-18179

4.2      Alltran Financial, LP                               Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         POB 15379                                           When was the debt incurred?
         Wilmington, DE 19850
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Duplicate For Notice Purposes
             Yes                                                Other. Specify   US Bank, NA


4.3      Alltran Financial, LP                               Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         10900 Corporate Centre                              When was the debt incurred?
         Drive #100
         Houston, TX 77041
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Duplicate For Notice Purposes
             Yes                                                Other. Specify   US Bank, NA


         Amazon Corporate Office &
4.4      Headquarters                                        Last 4 digits of account number       2531                                            $2,867.77
         Nonpriority Creditor's Name
         410 Terry Avenue North                              When was the debt incurred?
         Seattle, WA 98109-5210
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 5 of 28
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Debtor 1 Alvaro Sales                                                                            Case number (if known)         23-18179

4.5      Atlantic Health System                              Last 4 digits of account number       1876                                              $239.92
         Nonpriority Creditor's Name
         POB 21385                                           When was the debt incurred?
         New York, NY 10087-1385
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Medical Bill


4.6      Bank of America                                     Last 4 digits of account number       8843                                                 $0.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?
         4909 Savarese Circle
         Tampa, FL 33634
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Duplicate For Notice Purposes


4.7      Bank of America, N.A.                               Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         Att: Court Officer William DeGuilo                  When was the debt incurred?
         POB 7000
         Green Brook, NJ 08812-7000
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Docket No. SSX-DC-000017-23
                                                                                 Judgment No. SSX-VJ-000463-23
             Yes                                                Other. Specify   Notice Purposes Only




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Debtor 1 Alvaro Sales                                                                            Case number (if known)         23-18179

4.8      Bank of America, NA (FDIC)                          Last 4 digits of account number       8843                                            $8,314.53
         Nonpriority Creditor's Name
         100 North Tryon Street                              When was the debt incurred?
         Charlotte, NC 28202
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Docket No. SSX-DC-000017-23
             Yes                                                Other. Specify   Judgment No. SSX-VJ-000463-23


4.9      Best Egg                                            Last 4 digits of account number       5699                                                 $0.00
         Nonpriority Creditor's Name
         POB 207865                                          When was the debt incurred?
         Dallas, TX 75320-7865
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Duplicate For Notice Purposes


4.1
0        Best Egg                                            Last 4 digits of account number       5699                                                 $0.00
         Nonpriority Creditor's Name
         1523 Concord Pike                                   When was the debt incurred?
         Suite 201
         Wilmington, DE 19803
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Duplicate For Notice Purposes




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Debtor 1 Alvaro Sales                                                                            Case number (if known)         23-18179

4.1
1        Best Egg Headquarters                               Last 4 digits of account number       5699                                            $4,923.22
         Nonpriority Creditor's Name
         1523 Concord Pike - Suite 302                       When was the debt incurred?
         Wilmington, DE 19803
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Personal Loan


4.1
2        Capital One                                         Last 4 digits of account number       3606                                                 $0.00
         Nonpriority Creditor's Name
         POB 4069                                            When was the debt incurred?
         Carol Stream, IL 60197-4069
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Duplicate For Notice Purposes


4.1
3        Capital One                                         Last 4 digits of account number       3606                                                 $0.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?
         Po Box 30285
         Salt Lake City, UT 84130
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Duplicate For Notice Purposes




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4.1
4        Capital One Bank (USA), N.A. (FDIC)                 Last 4 digits of account number                                                       $2,162.49
         Nonpriority Creditor's Name
         Headquarters                                        When was the debt incurred?
         4851 Cox Road
         Glen Allen, VA 23060
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.1      Celentano, Stadtmauer &
5        Walentowicz                                         Last 4 digits of account number       7839                                                 $0.00
         Nonpriority Creditor's Name
         1035 Route 46 East, #B208                           When was the debt incurred?
         P.O. Box 2594
         Clifton, NJ 07015-2594
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Duplicate For Notice Purposes
             Yes                                                Other. Specify   Hackensack University Medical Center


4.1
6        Chase Auto Finance                                  Last 4 digits of account number       0304                                                 $0.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?
         Po Box 901076
         Fort Worth, TX 76101
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Duplicate For Notice Purposes
             Yes                                                Other. Specify   Defiency



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4.1
7        Citibank                                            Last 4 digits of account number       6886                                                 $0.00
         Nonpriority Creditor's Name
         Citicorp Cr Srvs/Centralized                        When was the debt incurred?
         Bankruptcy
         Po Box 790040
         St Louis, MO 63179
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   For notice purposes.


4.1
8        Citibank, N.A. (FDIC)                               Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         5800 S Corporate Place                              When was the debt incurred?
         Sioux Falls, SD 57108
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   For notice purposes.


4.1
9        Clark Family Law                                    Last 4 digits of account number                                                       $1,900.00
         Nonpriority Creditor's Name
         1 Main Street, Suite 8                              When was the debt incurred?
         Sparta, NJ 07871
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Estimated Amount for Attorney Fees




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4.2
0        Clark Family Law, LLC                               Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         POB 946                                             When was the debt incurred?
         Sparta, NJ 07871
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Duplicate For Notice Purposes


4.2
1        Cross River Bank (FDIC)                             Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         885 Teaneck Road                                    When was the debt incurred?
         Teaneck, NJ 07666
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Duplicate For Notice Purposes
             Yes                                                Other. Specify   Achieve/Freedom Loan Plus


4.2
2        Discover                                            Last 4 digits of account number       3373                                            $7,939.36
         Nonpriority Creditor's Name
         POB 70176                                           When was the debt incurred?
         Philadelphia, PA 19176-0176
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




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4.2
3        Discover Bank (FDIC)                                Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         502 E. Market Street                                When was the debt incurred?
         Greenwood, DE 19950
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Duplicate For Notice Purposes


4.2
4        Discover Bank Corporate                             Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         c/o Discover Products, Inc.                         When was the debt incurred?
         6500 New Albany Rd.
         New Albany, OH 43054
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Duplicate For Notice Purposes


4.2
5        Discover Bank Headquarters                          Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         2500 Lake Cook Road                                 When was the debt incurred?
         Riverwoods, IL 60015
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Duplicate For Notice Purposes




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4.2
6        Discover Financial                                  Last 4 digits of account number       3373                                                 $0.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?
         Po Box 3025
         New Albany, OH 43054
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Duplicate For Notice Purposes


4.2
7        Equifax                                             Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         1550 Peartree St. NW                                When was the debt incurred?
         Atlanta, GA 30309
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   For notice purposes.


4.2
8        Equifax                                             Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         P.O. Box 105851                                     When was the debt incurred?
         Atlanta, GA 30348
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Notice Purposes Only




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4.2
9        Experian                                            Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         475 Anton Boulevard                                 When was the debt incurred?
         Costa Mesa, CA 92626
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   For notice purposes.


4.3
0        Experian                                            Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         P.O. Box 2002                                       When was the debt incurred?
         Allen, TX 75013
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Notice Purposes Only


4.3
1        Fifth Third Bank                                    Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         Att: Bankruptcy Department                          When was the debt incurred?
         1830 E Paris Avenue SE
         Grand Rapids, MI 49546
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Duplicate For Notice Purposes
             Yes                                                Other. Specify   Home Depot Project Loan




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4.3
2        Fifth Third Bank (FDIC)                             Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         38 Fountain Square Plaza                            When was the debt incurred?
         Cincinnati, OH 45263
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Duplicate For Notice Purposes
             Yes                                                Other. Specify   Home Depot Project Loan


4.3
3        FreedomPlus                                         Last 4 digits of account number       7149                                                 $0.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?
         Po Box 2340
         Phoenix, AZ 85002
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Duplicate For Notice Purposes
             Yes                                                Other. Specify   Achieve Personal Loan


4.3
4        Grnsky/thdlnsvc/fiftht                              Last 4 digits of account number       0825                                                 $0.00
         Nonpriority Creditor's Name
         1797 Ne Expressway                                  When was the debt incurred?
         Atlanta, GA 30329
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Duplicate For Notice Purposes




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4.3      Hackensack University Medical
5        Center                                              Last 4 digits of account number       4281                                            $3,022.93
         Nonpriority Creditor's Name
         30 Prospect Avenue                                  When was the debt incurred?
         Hackensack, NJ 07601
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Medical Bill


4.3
6        Home Depot Corporate Offices                        Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         2455 Paces Ferry Road NW                            When was the debt incurred?
         Atlanta, GA 30339
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   For notice purposes.


4.3
7        Home Loan Project Loan                              Last 4 digits of account number       0825                                            $2,780.62
         Nonpriority Creditor's Name
         POB 2730                                            When was the debt incurred?
         Alpharetta, GA 30023
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Personal Loan




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4.3
8        JP Morgan Chase Auto                                Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         700 Kansas LN Mail Code LA                          When was the debt incurred?
         Monroe, LA 71203
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Duplicate For Notice Purposes


4.3
9        JPMorgan Chase Bank (FDIC)                          Last 4 digits of account number                                                       $9,558.23
         Nonpriority Creditor's Name
         1111 Polaris Parkway                                When was the debt incurred?
         Columbus, OH 43240
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Auto Deficiency


4.4
0        Kikoff Lending                                      Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         POB 40070                                           When was the debt incurred?
         Reno, NV 89504
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   For notice purposes.




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Debtor 1 Alvaro Sales                                                                            Case number (if known)         23-18179

4.4
1        Kikoff Lending, LLC                                 Last 4 digits of account number       R4QC                                                 $0.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?
         75 Broadway Suite 226
         San Francisco, CA 94111
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   For notice purposes.


4.4
2        Laemers Murphy & Neggia, LLC                        Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         97 Main Street                                      When was the debt incurred?
         Newton, NJ 07860
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
                                                                Contingent
             Debtor 1 only
             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Notice Purposes: Any attempt by estranged
                                                                                 wife or her attorney to categorize the
                                                                                 estranged wife's attorneys fees as
                                                                                 equitable distribution will be deemed by the
             Yes                                                Other. Specify   debtor to be a discharge violation.




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4.4
3        Mariann C. Murphy, Esq.                             Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         97 Main Street                                      When was the debt incurred?
         Newton, NJ 07860
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
                                                                Contingent
             Debtor 1 only
             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Notice Purposes: Any attempt by estranged
                                                                                 wife or her attorney to categorize the
                                                                                 estranged wife's attorneys fees as
                                                                                 equitable distribution will be deemed by the
             Yes                                                Other. Specify   debtor to be a discharge violation.


4.4
4        Marleen S. Horlacher, Esq.                          Last 4 digits of account number                                                         $745.00
         Nonpriority Creditor's Name
         The Law Office of Markleen S.                       When was the debt incurred?
         Horlacher
         31 US Highway 206
         Augusta, ` 07822
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Attorneys Fees re: cancellation of two
             Yes                                                Other. Specify   sales contracts.




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4.4
5        MRS BPO, L.L.C.                                     Last 4 digits of account number       1277                                                 $0.00
         Nonpriority Creditor's Name
         1930 Olney Avenue                                   When was the debt incurred?
         Cherry Hill, NJ 08003
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Duplicate For Notice Purposes
             Yes                                                Other. Specify   JP Morgan Chase


4.4
6        MRS BPO, L.L.C.                                     Last 4 digits of account number       2384                                                 $0.00
         Nonpriority Creditor's Name
         1930 Olney Avenue                                   When was the debt incurred?
         Cherry Hill, NJ 08003
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Duplicate for Notice Purposes
                                                                                 Amazon Store Card
             Yes                                                Other. Specify   Synchrony Bank


4.4
7        Newton Imaging, PA                                  Last 4 digits of account number       7473                                              $462.03
         Nonpriority Creditor's Name
         57 Route 46E, Suite 209                             When was the debt incurred?
         Hackettstown, NJ 07840-2695
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Medical Bill




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4.4
8        Newton Imaging, PA                                  Last 4 digits of account number       7473                                                  $0.00
         Nonpriority Creditor's Name
         Mailstop: 71828672                                  When was the debt incurred?
         POB 660535
         Dallas, TX 75266-0535
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Duplicate For Notice Purposes


4.4      Optimum Corporate Office &
9        Headquarters                                        Last 4 digits of account number                                                            $97.03
         Nonpriority Creditor's Name
         Stamford Town Center Mall                           When was the debt incurred?
         100 Greyrock Place - Third Floor
         Stamford, CT 06901
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Utilities


4.5      Pay Pal Corporate Office
0        Headquarters                                        Last 4 digits of account number                                                             $0.00
         Nonpriority Creditor's Name
         2211 North First Street                             When was the debt incurred?
         San Jose, CA 95131
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Duplicate For Notice Purposes




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4.5
1        Rubin & Rothman, LLC                                Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         1787 Veterans Highway                               When was the debt incurred?
         Islandia, NY 11749
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Duplicate For Notice Purposes
                                                                                 Bank of America
             Yes                                                Other. Specify   Judgment VJ: 000463-23


4.5
2        Rubin & Rothman, LLC                                Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         POB 9003                                            When was the debt incurred?
         Islandia, NY 11749
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Duplicate For Notice Purposes
             Yes                                                Other. Specify   Bank of America


4.5
3        Stephanie Sales                                     Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         Att: Mariann C. Murphy, Esq.                        When was the debt incurred?
         Laemers Murphy & Neggia, LLC
         97 Main Street
         Newton, NJ 07860
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Notice Purposes Only




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4.5
4        Stephanie Sales                                     Last 4 digits of account number                                                       Unknown
         Nonpriority Creditor's Name
         83 Newton Avenue                                    When was the debt incurred?
         Sussex, NJ 07461
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
                                                                Contingent
             Debtor 1 only
             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Estranged-Spouse


4.5
5        Sunrise Credit Services, Inc.                       Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         P.O. Box 9004                                       When was the debt incurred?
         Melville, NY 11747-9004
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Duplicate For Notice Purposes
             Yes                                                Other. Specify   Optimum


4.5
6        Synchrony Bank (FDIC)                               Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         170 West Election Road - Suite 125                  When was the debt incurred?
         Draper, UT 84020
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Duplicate For Notice Purposes
             Yes                                                Other. Specify   Amazon




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4.5
7        Synchrony Bank/Amazon                               Last 4 digits of account number       2531                                                 $0.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?
         Po Box 965060
         Orlando, FL 32896
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Duplicate For Notice Purposes


4.5
8        Synchrony/PayPal Credit                             Last 4 digits of account number       4169                                              $170.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?
         Po Box 965060
         Orlando, FL 32896
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.5
9        Trans Union                                         Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         P.O. Box 2000                                       When was the debt incurred?
         Chester, PA 19022-2000
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Notice Purposes Only




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4.6
0        Trans Union Corporate Office                        Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         555 W. Adams Street                                 When was the debt incurred?
         Chicago, IL 60661
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   For notice purposes.


4.6
1        US Bank, NA (FDIC)                                  Last 4 digits of account number       4128                                           $11,043.47
         Nonpriority Creditor's Name
         425 Walnut Street                                   When was the debt incurred?
         Cincinnati, OH 45202
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.6
2        US Bank/RMS                                         Last 4 digits of account number       4128                                                 $0.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?
         Po Box 5229
         Cincinnati, OH 45201
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Duplicate For Notice Purposes




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4.6
3        Wells Fargo Bank NA                                 Last 4 digits of account number       0811                                                 $0.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?
         1 Home Campus Mac X2303-01a 3rd
         Floor
         Des Moines, IA 50328
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Duplicate For Notice Purposes


4.6
4        Wells Fargo Bank, N.A. (FDIC)                       Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         101 North Phillips Avenue                           When was the debt incurred?
         Sioux Falls, SD 57104
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Duplicate For Notice Purposes


4.6
5        Wells Fargo Bank, NA                                Last 4 digits of account number       0811                                            $5,127.89
         Nonpriority Creditor's Name
         POB 77053                                           When was the debt incurred?
         Minneapolis, MN 55480-7753
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




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4.6
6         Wells Fargo Corporate Office                         Last 4 digits of account number                                                                  $0.00
          Nonpriority Creditor's Name
          420 Montgomery Street                                When was the debt incurred?
          San Francisco, CA 94104
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify    Duplicate For Notice Purposes

Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Bank of America                                          Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
Po Box 982238                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
El Paso, TX 79998
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Best Egg                                                 Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Po Box 42912                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
Philadelphia, PA 19101
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Capital One                                              Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Po Box 31293                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
Salt Lake City, UT 84131
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Chase Auto Finance                                       Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
700 Kansas Lane                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
Monroe, LA 71203
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Citibank                                                 Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Po Box 6217                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
Sioux Falls, SD 57117
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Discover Financial                                       Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Po Box 30939                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
Salt Lake City, UT 84130
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
FreedomPlus                                              Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
1875 South Grant Street                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
San Mateo, CA 94402
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?


Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 27 of 28
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Debtor 1 Alvaro Sales                                                                                   Case number (if known)         23-18179

Kikoff Lending Llc                                           Line 4.41 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
75 Broadway                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
San Francisco, CA 94111
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Synchrony Bank/Amazon                                        Line 4.57 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Po Box 71737                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
Philadelphia, PA 19176
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Synchrony/PayPal Credit                                      Line 4.58 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Po Box 71727                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
Philadelphia, PA 19176
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
US Bank/RMS                                                  Line 4.62 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Cb Disputes                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
Saint Louis, MO 63166
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Wells Fargo Bank NA                                          Line 4.63 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Po Box 14517                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
Des Moines, IA 50306
                                                             Last 4 digits of account number


Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                              Total Claim
                        6a.   Domestic support obligations                                                6a.       $                     6,266.41
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                        6b.       $                     7,538.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.       $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.       $                    13,804.41

                                                                                                                              Total Claim
                        6f.   Student loans                                                               6f.       $                           0.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                 $                    87,640.48

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.       $                    87,640.48




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 28 of 28
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Fill in this information to identify your case:

Debtor 1                   Alvaro Sales
                           First Name                           Middle Name        Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name        Last Name


United States Bankruptcy Court for the:                 DISTRICT OF NEW JERSEY

Case number           23-18179
(if known)
                                                                                                                             Check if this is an
                                                                                                                             amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                   12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


   3.1         Stephanie Sales                                                                       Schedule D, line
               83 Newton Avenue                                                                      Schedule E/F, line  4.1
               Sussex, NJ 07461-1501
                                                                                                     Schedule G
                                                                                                   Achieve Personal Loan



   3.2         Stephanie Sales                                                                       Schedule D, line   2.11
               83 Newton Avenue                                                                      Schedule E/F, line
               Sussex, NJ 07461
                                                                                                     Schedule G
                                                                                                   NewRez LLC



   3.3         Stephanie Sales                                                                        Schedule D, line
               83 Newton Avenue                                                                       Schedule E/F, line  2.1
               Sussex, NJ 07461
                                                                                                      Schedule G
                                                                                                   Internal Revenue Service




Official Form 106H                                                             Schedule H: Your Codebtors                                 Page 1 of 2
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Debtor 1 Alvaro Sales                                                    Case number (if known)   23-18179


        Additional Page to List More Codebtors
         Column 1: Your codebtor                                              Column 2: The creditor to whom you owe the debt
                                                                              Check all schedules that apply:
  3.4    Stephanie Sales                                                        Schedule D, line
         83 Newton Avenue                                                       Schedule E/F, line   2.3
         Sussex, NJ 07461
                                                                                Schedule G
                                                                              New Jersey Division of Taxation



  3.5    Stephanie Sales                                                        Schedule D, line
         83 Newton Avenue                                                       Schedule E/F, line   4.44
         Sussex, NJ 07461
                                                                                Schedule G
                                                                              Marleen S. Horlacher, Esq.




Official Form 106H                                        Schedule H: Your Codebtors                                Page 2 of 2
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Fill in this information to identify your case:

Debtor 1                    Alvaro Sales
                            First Name            Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name            Middle Name              Last Name


United States Bankruptcy Court for the:    DISTRICT OF NEW JERSEY

Case number              23-18179
(if known)
                                                                                                                             Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Alvaro Sales                                                  X
             Alvaro Sales                                                      Signature of Debtor 2
             Signature of Debtor 1

             Date       October 23, 2023                                       Date




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules
